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The Honorable John C. Coughenour

 

 

 

 

 

 

CASE NO. CR20-092 JCC

SECOND SUPERSEDING
INDICTMENT

1
Presented to the Court by the foreman of the
2 Grand Jury in open Court, in the presence
of the Grand Jury and FILED in the US.
3 DISTRICT COURT at Seattle, Washington
4 April 1, 2021
ee? . Clerk
5 By _“4z AD Ae L _ Deputy
6
7 UNITED STATES DISTRICT COURT FOR THE
g WESTERN DISTRICT.OF WASHINGTON
AT SEATTLE
9
10 UNITED STATES OF AMERICA,
i Plaintiff,
12 Vv.
13|| (ALAN GOMEZ-MARENTES (aka
GUAJAS),
14|| (2) JUAN ANTONIO GONZALEZ-
15 CARRILLO (aka TOTO),
(3) LUIS ARTURO MAGANA-
16 RAMIREZ (aka GUERO),
17|| @) JOSE ELIAS BARBOSA (aka PRIMO,
aka PRIETO),
18 || (5) JOSE DANIEL ESPINOZA (aka
19 APACHE), |
(6) ESTEFHANY COREA-MENDOZA
20 (aka SICARIA),
1 (7) ADRIAN IZAZAGA-MARTINEZ,
(8) JORGE MONDRAGON,
22|| (9) BENJAMIN FUENTES (aka
03 CHANCHAS),
(10) LUIS ZAVALZA-SANCHEZ (aka
24 FLAKO),
9s|| (11) ALYSHA JONES (aka MANDY),
(12) ARMANDO FIERRO-PONCE,
26|| (13) AMANDA MEYER,
57|| (14) MICHAEL ANDREW WOOD,
(15) LUIS CASTILLO-BARRAGAN,
28 (16) EFRAIN LUNA-RODRIGUEZ,

 

 

 

 

SECOND SUPERSEDING INDICTMENT
United States v. Alan GOMEZ-MARENTES, et al. - |

UNITED STATES ATTORNEY
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SEATTLE, WASHINGTON 98101
(206) 553-7970

 
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(17) JULIAN PINEDA CASILLAS,

(18) BLANCA MEDINA,

(19) RUTH MELISA GOMEZ-
MARENTES,

(20) ADRIAN SIMS, and

(21) EDGAR LUNA-GARCIA,

~ Defendants.

 

 

The Grand Jury charges that:
(Conspiracy to Distribute Controlled Substances)

Beginning at a time unknown and continuing until on or about July 28, 2020, at
King, Pierce, and Kitsap Counties, within the Western District of Washington, and
elsewhere, ALAN GOMEZ-MARENTES, JUAN ANTONIO GONZALEZ-CARRILLO,
LUIS ARTURO MAGANA-RAMIREZ, JOSE ELIAS BARBOSA, JOSE DANIEL
ESPINOZA, ESTEFHANY COREA-MENDOZA, ADRIAN IZAZAGA-MARTINEZ,
JORGE MONDRAGON, BENJAMIN FUENTES, LUIS ZAVALZA-SANCHEZ,
ALYSHA JONES, ARMANDO FIERRO-PONCE, AMANDA MEYER, MICHAEL
ANDREW WOOD, LUIS CASTILLO-BARRAGAN, EFRAIN LUNA-RODRIGUEZ,
JULIAN PINEDA CASILLAS, BLANCA MEDINA, RUTH MELISA GOMEZ-
MARENTES, ADRIAN SIMS, EDGAR LUNA-GARCIA, and others known and
unknown, did knowingly and intentionally conspire to distribute substances controlled
under Title 21, United States Code, Section 812, Schedules I and II, to wit:
methamphetamine, heroin, and Fentanyl, contrary to the provisions of Title 21, United
States Code.

' Specific Quantity Allegations as to Methamphetamine

The Grand Jury further alleges that with respect to ALAN GOMEZ-MARENTES,
JUAN ANTONIO GONZALEZ-CARRILLO, LUIS ARTURO MAGANA-RAMIREZ,
JOSE ELIAS BARBOSA, JOSE DANIEL ESPINOZA, ESTEFHANY COREA-

MENDOZA, ADRIAN IZAZAGA-MARTINEZ, JORGE MONDRAGON, BENJAMIN

SECOND SUPERSEDING INDICTMENT _ UNITED STATES ATTORNEY

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FUENTES, LUIS ZAVALZA-SANCHEZ, ALYSHA JONES, ARMANDO FIERRO-
PONCE, AMANDA MEYER, MICHAEL ANDREW WOOD, LUIS CASTILLO-
BARRAGAN, EFRAIN LUNA-RODRIGUEZ, JULIAN PINEDA CASILLAS,
BLANCA MEDINA, RUTH MELISA GOMEZ-MARENTES, and EDGAR LUNA-
GARCIA, their conduct as members of the conspiracy charged in Count 1, which
includes the reasonably foreseeable conduct of the other members of the conspiracy
charged in Count 1, involved 50 erams or more of methamphetamine, its salts, isomers,
and salts of its isomers, and 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, in
violation of Title 21, United States Code, Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to ADRIAN SIMS, his conduct as
a member of the conspiracy charged in Count 1, which includes the reasonably
foreseeable conduct of the other members of the conspiracy charged in Count 1, involved
5 grams or more of methamphetamine, its salts, isomers, and salts of its isomers, and 50
grams or more of a mixture or substance containing a detectable amount of
methamphetamine, its salts, isomers, and salts of its isomers, in violation of Title 21,
United States Code, Section 841(b)(1)(B).

. Specific Quantity Allegations as to Heroin

The Grand Jury further alleges that with respect to ALAN GOMEZ-MARENTES,
JUAN ANTONIO GONZALEZ-CARRILLO, LUIS ARTURO MAGANA-RAMIREZ,
JOSE DANIEL ESPINOZA, JULIAN PINEDA CASILLAS, and BLANCA MEDINA,
their conduct as members of the conspiracy charged in Count 1, which includes the
reasonably foreseeable conduct of other members of the conspiracy charged in Count 1,
involved 1 kilogram or more of a mixture or substance containing a detectable amount of
heroin, in violation of Title 21, United States Code, Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to JOSE ELIAS BARBOSA,
ESTEFHANY COREA-MENDOZA, ADRIAN IZAZAGA-MARTINEZ, JORGE
MONDRAGON, BENJAMIN FUENTES, AMANDA MEYER, and ADRIAN SIMS,

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their conduct as members of the conspiracy charged in Count 1, which includes the
reasonably foreseeable conduct of other members of the conspiracy charged in Count 1,
involved 100 grams or more of a mixture or substance containing a detectable amount of
heroin, in violation of Title 21, United States Code, Section 841(b)(1)(B).

Specific Quantity Allegations as to Fentanyl

The Grand J ury further alleges that this with respect to ALAN GOMEZ-
MARENTES, LUIS ARTURO MAGANA-RAMIREZ, JOSE DANIEL ESPINOZA,
BENJAMIN FUENTES, and EFRAIN LUNA-RODRIGUEZ, their conduct as members
of the conspiracy charged in Count 1, which includes the reasonably foreseeable conduct
of other members of the conspiracy charged in Count 1, involved 400 grams or more ofa
mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethy1)-
4-piperidiny!] propanamide (Fentanyl), and 100 grams or more of any analogue of N-
phenyl-N-[1-(2-phenylethyl)-4-piperidiny!] propanamide (Fentanyl), in violation of Title
21, United States Code, Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to LUIS CASTILLO-
BARRAGAN and RUTH MELISA GOMEZ-MARENTES, their conduct as members of
the conspiracy charged in Count 1, which includes the reasonably foreseeable conduct of
other members of the conspiracy charged in Count 1, involved 40 grams or more ofa
mixture or substance containing a detectable amount of N-pheny1-N-[1-(2-phenylethyl)-
4-piperidinyl] propanamide (Fentanyl), and 10 grams or more of any analogue of N-
pheny1-N-[1-(2-phenylethy1)-4-piperidinyl] propanamide (Fentanyl), in violation of Title
21, United States Code, Section 841(b)(1)(B).

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(6)(1), and
846.

COUNT 2
(Possession with Intent to Distribute - Methamphetamine)

On or about November 9, 2019, at King and Kitsap Counties, within the Western
District of Washington, ALAN GOMEZ-MARENTES, JOSE ELIAS BARBOSA,

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ALYSHA JONES, RUTH MELISA GOMEZ-MARENTES, and EDGAR LUNA-
GARCIA, did knowingly and intentionally possess with the intent to distribute, and aid
and abet the possession of with intent to distribute, methamphetamine, a substance
controlled under Title 21, United States Code, Section 812.

The Grand Jury further alleges that this offense involved 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, and 500 grams or more of a |
mixture or substance containing a detectable amount of methamphetamine, its salts, |
isomers, and salts of its isomers.

The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A), and Title 18, United States Code, Section 2.

COUNT 3
(Attempted Possession with Intent to Distribute - Methamphetamine and Heroin)

On or about June 5, 2020, at Pierce County, within the Western District of
Washington and elsewhere, JUAN ANTONIO GONZALEZ-CARRILLO, LUIS
ARTURO MAGANA-RAMIREZ, and JULIAN PINEDA CASILLAS did knowingly
and intentionally attempt to possess with the intent to distribute, and aid and abet the
attempted possession with intent to distribute, methamphetamine and heroin, a substance
controlled under Title 21, United States Code, Section 812.

The Grand Jury further alleges that with respect to LUIS ARTURO MAGANA-
RAMIREZ and JULIAN PINEDA CASILLAS, this offense involved 50 grams or more

of methamphetamine, its salts, isomers, and salts of its isomers, and 500 grams or more

|| of a mixture or substance containing a detectable amount of methamphetamine, its salts,

isomers, and salts of its isomers, in violation of Title 21, United States Code, Section
841(b)(1)(A).

The Grand Jury further alleges that with respect to JUAN ANTONIO
GONZALEZ-CARRILLO, LUIS ARTURO MAGANA-RAMIREZ, and JULIAN

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PINEDA CASILLAS, this offense involved 1 kilogram or more of a mixture or substance _
containing a detectable amount of heroin, in violation of Title 21, United States Code,
Section 841(b)(1)(A). |

The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above. |

All in violation of Title 21, United States Code, Sections 841(a)( 1), 841(b)(1)(A),
841(b)(1)(C), and 846, and Title 18, United States Code, Section 2.

- COUNT 4 _
(Conspiracy to Commit Money Laundering)

Beginning at a time unknown, but within the last five years, and continuing
through July 28, 2020, in King County, within the Western District of Washington, and
elsewhere, ALAN GOMEZ-MARENTES and RUTH GOMEZ-MARENTES, and others
known and unknown, unlawfully and knowingly combined, conspired, confederated and
agreed together and with each other to commit certain money laundering offenses under
Title 18, United States Code, Section 1956,.as follows:

1956(a)(1)(B)@)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to conceal and disguise the nature, the location, the source, the ownership, and the
control of the proceeds of the specified unlawful activity, in violation of Title 18, United
States Code, Section 1956(a)(1)(B)(i); and

1956(a)(1)(B)(ii)

Did conduct and attempt to conduct financial transactions, that is: transactions

involving the movement of funds by wire and other means affecting interstate and foreign

commerce, which in fact involved the proceeds of specified unlawful activity, that is,

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conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to avoid a transaction reporting requirement under State and Federal Law, in
violation of Title 18, United States Code, Section 1956(a)(1)(B)Gi).

The Grand Jury further alleges this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above. a

Allin violation of Title 18, United States Code, Section 1956(h).

(Possession with Intent to Distribute — Methamphetamine and Heroin)

On or about July 28, 2020, at King County, within the Western District of
Washington, ALAN GOMEZ-MARENTES and BLANCA MEDINA, did knowingly and
intentionally possess with the intent to distribute, and aid and abet the possession of with
intent to distribute, methamphetamine and heroin, substances controlled under Title 21,
United States Code, Section 812.

The Grand Jury further alleges that this offense involved 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, and 500 grams or more of a
mixture or substance containing a detectable amount of methamphetamine, its salts,
isomers, and salts of its isomers.

The Grand Jury further alleges that this offense involved 1 kilogram or more of a
mixture or substance containing a detectable amount of heroin.

The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A), and Title 18, United States Code, Section 2.

COUNT 6
(Possession with Intent to Distribute - Methamphetamine, Heroin,
Fentanyl, and Cocaine)

On or about July 28, 2020, at King County, within the Western District of

Washington, JOSE DANIEL ESPINOZA and BENJAMIN FUENTES, did knowingly

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and intentionally possess with the intent to distribute, and aid and abet the possession of
with intent to distribute, methamphetamine, heroin, Fentanyl, and cocaine, all substances
controlled under Title 21, United States Code, Section 812.

The Grand Jury further alleges that this offense involved 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, and 500 grams or more of a
mixture or substance containing a detectable amount of methamphetamine, its salts,
isomers, and salts of its isomers. | | Oo

The Grand Jury further alleges that this offense involved 100 grams or more of a
mixture or substance containing a detectable amount of heroin.

The Grand Jury further alleges that this offense involved 40 grams or more of a
mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-
4-piperidiny!] propanamide (Fentanyl), and 10 grams or more of any analogue of N-
phenyl-N-[1-(2-phenylethy1)-4-piperidinyl] propanamide (Fentanyl).

The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),
841(b)(1)(B), 841(b)(1)(C), and Title 18, United States Code, Section 2.

COUNT 7
(Possession with Intent to Distribute — Fentanyl)

On or about July 28, 2020, at King County, within the Western District of _
Washington, AMANDA MEYER, did knowingly and intentionally possess with the
intent to distribute, and aid and abet the possession of with intent to distribute, Fentanyl, a
substance controlled under Title 21, United States Code, Section 812.

The Grand Jury further alleges that this offense involved 40 grams or more of a
mixture or substance containing a detectable amount of N-pheny|-N-[1-(2-phenylethy1)-
4-piperidinyl] propanamide (Fentanyl), and 10 grams or more of any analogue of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (Fentany]).

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The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.
All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B),
and Title 18, United States Code, Section 2.
COUNT 8

(Possession with Intent to Distribute - Methamphetamine and Fentanyl) —

~ On or about July 28, 2020, at King County, within the Western District of -

‘Washington, ADRIAN SIMS did knowingly and intentionally possess with the intent to

distribute, and aid and abet the possession of with intent to distribute, controlled
substances, including but not limited to methamphetamine and Fentanyl, a substance
controlled under Title 21, United States Code, Section 812.

The Grand Jury further alleges that this offense involved 5 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, and 50 grams or more of a
mixture or substance containing a detectable amount of methamphetamine, its salts,
isomers, and salts of its isomers. .

The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B),
841(b)(1)(C), and Title 18, United States Code, Section 2.

7 COUNT 9
(Illegal Alien in Possession of a Firearm and Ammunition)

On or about July 28, 2020, at Pierce County, within the Western District of
Washington, LUIS ARTURO MAGANA-RAMIREZ, knowing himself to be an alien
illegally and unlawfully in the United States, did knowingly possess, in and affecting
interstate and foreign commerce, a firearm and ammunition, to wit:

e aThompson Center Arms, Contender, Colt 45 pistol;
e aRaven Arms, P-25, .25 Auto, pistol;

e 10 rounds of .40 caliber ammunition made by Poongsan Corporation;

~ SECOND SUPERSEDING INDICTMENT UNITED STATES ATTORNEY

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e 10 rounds of 10mm caliber ammunition made by Prvi Partizan;
e 13 rounds of 9mm caliber ammunition made by Federal Cartridge

Company;
e round of 9mm caliber ammunition made by CCI;
e 40 rounds of .22 caliber ammunition made by Federal Cartridge Company,
© 50 rounds of .22 caliber ammunition made by Cartuchos Desportivos de

Mexico, .
which had been shipped and transported in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 922(g)(5)(A).
COUNT 10
(Possession of an Unregistered Firearm)

On or about July 28, 2020, at King County, within the Western District of
Washington, JOSE DANIEL ESPINOZA, knowingly received and possessed a firearm,
to wit, a Winchester, Model 12 Shotgun, 12 gauge, which had a barrel length of less than
18 inches, and was not registered to him in the National Firearms Registration and
Transfer Record.

All in violation of Title 26, United States Code, Sections 5841, 5861(d) and 5871.

COUNT 11
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

On or about July 28, 2020, in King County, within the Western District of
Washington, AMANDA MEYER knowingly and intentionally possessed a firearm, to
wit, a privately manufactured 9mm handgun, in furtherance of a drug trafficking offense
for which she may be prosecuted in a Court of the United States, to wit, Conspiracy to
Distribute Controlled Substances, as charged in Count 1, and Possession with Intent to
Distribute — Fentanyl as Charged in Count 7, of this Superseding Indictment.

The Grand Jury further alleges that this offense was committed during and in

furtherance of the conspiracy charged in Count 1, above.

SECOND SUPERSEDING INDICTMENT UNITED STATES ATTORNEY

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All in violation of Title 18, United States Code, Section 924(c)(1)(A).
COUNT 12
(Felon in Possession of Ammunition — Vehicle)

On or about July 28, 2020, in King County, within the Western District of
Washington, ADRIAN SIMS, knowing he had previously been convicted of crimes
punishable by imprisonment for a term exceeding one year, to wit:

e Protection Order Violation, Domestic Violence, under cause number 17-1-
03952-9, in Pierce County Superior Court, on or about May 25, 2018 (two
counts), |

did knowingly possess, and did aid and abet the possession of, ammunition, to wit: 28
rounds of 9mm caliber ammunition made by Federal Cartridge Company, which had
previously traveled in interstate and foreign commerce.

All in violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2),
and 2. |

COUNT 13
(Felon in Possession of a Firearm— Storage Unit)

On or about July 28, 2020, in King County, within the Western District of
Washington, ADRIAN SIMS, knowing he had previously been convicted of crimes
punishable by imprisonment for a term exceeding one year, to wit:

e Protection Order Violation, Domestic Violence, under cause number 17-1-

03952-9, in Pierce County Superior Court, on or about May 25, 2018 (two
counts), .
did knowingly possess, and did aid and abet the possession of, a firearm, to wit:

e a Rock River Arms, Model LAR-15, 5.56mm, rifle; and |

¢ aLee-Enfield, Model 4, 303 caliber, rifle;
which had previously traveled in interstate and foreign commerce.

All in violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2),

and 2.
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ASSET FORFEITURE ALLEGATIONS ©

Drug Offenses
The allegations in Counts 1 through 3, and 5 through 8, of this Superseding

Indictment are hereby realleged and incorporated by reference herein for the purpose of

alleging forfeiture to the United States pursuant to Title 21, United States Code, Section
853.

_ .... Pursuant to Title 21, United States Code, Section 853, upon conviction of the
felony drug offenses charged in Counts 1 through 3, and 5 through 8, of this Superseding
Indictment, defendants ALAN GOMEZ-MARENTES, JUAN ANTONIO GONZALEZ-
CARRILLO, LUIS ARTURO MAGANA-RAMIREZ, JOSE ELIAS BARBOSA, JOSE
DANIEL ESPINOZA, ESTEFHANY COREA-MENDOZA, ADRIAN IZAZAGA-
MARTINEZ, JORGE MONDRAGON, BENJAMIN FUENTES, LUIS ZAVALZA-
SANCHEZ, ALYSHA JONES, ARMANDO FIERRO-PONCE, AMANDA MEYER,
MICHAEL ANDREW WOOD, LUIS CASTILLO-BARRAGAN, EFRAIN LUNA-
RODRIGUEZ, JULIAN PINEDA CASILLAS, BLANCA MEDINA, RUTH MELISA
GOMEZ-MARENTES, ADRIAN SIMS, and EDGAR LUNA-GARCIA, shall forfeit to
the United States of America any and all property, real or personal, constituting or
derived from, any proceeds the defendants obtained, directly or indirectly, as the result of
such offenses, and shall further forfeit any and all property, real or personal, used, or
intended to be used, in any manner or part, to commit, or to facilitate the commission of,
such offenses. The property to be forfeited includes, but is not limited to, the following:

a. Four thousand one hundred U.S. Dollars ($4,100.00), more or less,
seized from the person of MICHAEL ANDREW WOOD on April 22, 2020;

b. Bulk cash seized from the primary residence of ALAN GOMEZ-
MARENTES and BLANCA MEDINA at 229 Andover Park East, Apartment 1612,
Tukwila, Washington, on July 28, 2020;

C. Bulk cash seized from the alternate residence of BLANCA
MEDINA at 3511 Gibson Road #B, El Monte, California, on July 28, 2020;

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d. Bulk cash seized from the primary residence of LUIS ARTURO
MAGANA-RAMIREZ at 4503 67th Avenue East, Fife, Washington, on July 28, 2020;

e. Bulk cash seized from the primary residence of JOSE DANIEL
ESPINOZA and BENJAMIN FUENTES at 430 Maple Avenue Southwest, Renton,
Washington, on July 28, 2020; and

- ff. Sums of money representing the proceeds that each defendant
obtained as a result of the Conspiracy to Distribute Controlled Substances, as alleged in
Count 1, above.

Money Laundering Offenses

The allegations in Count 4 of this Superseding Indictment are hereby realleged and
incorporated by reference herein for the purposes of alleging forfeiture to the United
States pursuant to Title 18, United States Code, Section 982(a)(1).

Upon conviction of the felony offense in violation of Title 18, United States Code,
Sections 1956, as charged in Count 4 of this Superseding Indictment, defendants ALAN
GOMEZ-MARENTES and RUTH GOMEZ-MARENTES, shall forfeit to the United
States of America any property, real or personal, involved in such offense, and any
property traceable to such property, including but not limited to the following,

a. A sum of money representing any property, real or personal,
involved in the offense charged in Count 4 of this Superseding Indictment, and any
property traceable to such property.

Firearms Offenses

Pursuant to Title 18, United States Code, Section 924(d)(1), Title 26, United States
Code, Section 5872, and Title 28, United States Code, Section 2461(c), upon conviction
of any of the offenses alleged in Counts 9 through 13 of this Superseding Indictment,
defendants LUIS ARTURO MAGANA-RAMIREZ, JOSE DANIEL ESPINOZA,
AMANDA MEYER, and ADRIAN SIMS, shall forfeit to the United States any firearms
and ammunition involved or used in committing the offenses alleged in Counts 9 through

13 of this Superseding Indictment, including but not limited to the following:

SECOND SUPERSEDING INDICTMENT UNITED STATES ATTORNEY

United States v. Alan GOMEZ-MARENTES, et al. - 13 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

 
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a. a Thompson Center Arms, Contender, Colt 45 pistol, seized from the
residence of LUIS ARTURO MAGANA-RAMIREZ at 4503 67th Avenue East, Fife,
Washington, on July 28, 2020;

b. a Raven Arms, P-25, .25 Auto, pistol, seized from the residence of
LUIS ARTURO MAGANA-RAMIREZ at 4503 67th Avenue East, Fife, Washington, on
July 28, 2020;

~e~ 10 rounds of .40 caliber ammunition made by Poongsan™
Corporation, seized from the residence of LUIS ARTURO MAGANA-RAMIREZ at
4503 67th Avenue East, Fife, Washington, on July 28, 2020;

d. 10 rounds of 10mm caliber ammunition made by Prvi Partizan,
seized from the residence of LUIS ARTURO MAGANA-RAMIREZ at 4503 67th
Avenue East, Fife, Washington, on July 28, 2020;

e. 13 rounds of 9mm caliber ammunition made by Federal Cartridge
Company, seized from the residence of LUIS ARTURO MAGANA-RAMIREZ at 4503
67th Avenue East, Fife, Washington, on July 28, 2020;

f. 1 round of 9mm caliber ammunition made by CCT, seized from the
residence of LUIS ARTURO MAGANA-RAMIREZ at 4503 67th Avenue East, Fife,
Washington, on July 28, 2020;

g. 40 rounds of .22 caliber aminunition made by Federal Cartridge
Company, seized from the residence of LUIS ARTURO MAGANA-RAMIREZ at 4503
67th Avenue East, Fife, Washington, on July 28, 2020;

h. 50 rounds of .22 caliber ammunition made by Cartuchos
Desportivos de Mexico, seized from the residence of LUIS ARTURO MAGANA-
RAMIREZ at 4503 67th Avenue East, Fife, Washington, on July 28, 2020;

i. a Winchester, Model 12 Shotgun, 12 gauge, seized from the primary
residence of JOSE DANIEL ESPINOZA at 430 Maple Avenue Southwest, Renton,
Washington, on July 28, 2020;

j- a privately manufactured 9mm handgun, seized from the primary
residence of AMANDA MEYER at 11413 Southeast 219th Place, Kent, Washington, on
July 28, 2020;

SECOND SUPERSEDING INDICTMENT . UNITED STATES ATTORNEY

United States y. Alan GOMEZ-MARENTES, et al. - 14 700 STEWART STREET, SUITE 5220
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k. 28 rounds of 9mm caliber ammunition made by Federal Cartridge
Company, seized from the vehicle of ADRIAN SIMS in Auburn, Washington, on July
28, 2020;

1. a Rock River Arms, Model LAR-15, 5.56mm, rifle, seized from the
storage unit of ADRIAN SIMS at Unit G-35 at Public Storage, 10528 Southeast 256th |

Street, Kent, Washington, on July 28, 2020; and

m. aLee-Enfield, Model 4, 303 caliber, vifle, seized from the storage
unit of ADRIAN SIMS at Unit G-35 at Public Storage, 10528 Southeast 256th Street,
Kent, Washington, on July 28, 2020.

Substitute Assets
If any of the property described above, as a result of any act or omission of the
defendants:
cannot be located upon the exercise of due diligence;

a
b. has been transferred or sold to, or deposited with, a third party;

C, has been placed beyond the jurisdiction of the Court;
d. has been diminished in value; or
e, has been commingled with other property which cannot be divided without
difficulty,
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SECOND SUPERSEDING INDICTMENT UNITED STATES ATTORNEY
United States vy, Alan GOMEZ-MARENTES, et al. - 15 700 STEWART STREET, SUITE 5220

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it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), to seek the forfeiture of any other property of the defendants up to the value of
the above-described forfeitable property.

A TRUE BILL:

patep: 3/3 /A |

(Signature of Foreperson redacted
pursuant to the policy of the Judicial
Conference of the United States)

 

FOREPERSON

 

 

 

VINGE\LOMBARDI
ssistaht United States Attorney

Any. F bonw—

 

AMY JAQUETTE
Assistant United States Attorney

C. ANDREW COLASURDO
Assistant United States Attorney

 

 

SECOND SUPERSEDING INDICTMENT UNITED STATES ATTORNEY

United States vy. Alan GOMEZ-MARENTES, et al. - 16 700 STEWART STREET, SUITE 5220
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